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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-0829V
                                        UNPUBLISHED


    DAVID K. MCQUINN,                                       Chief Special Master Corcoran

                        Petitioner,
    v.                                                      Filed: June 7, 2022

    SECRETARY OF HEALTH AND                                 Special Processing Unit (SPU);
    HUMAN SERVICES,                                         Ruling on Entitlement; Concession;
                                                            Table Injury; Influenza (Flu); Guillain-
                       Respondent.                          Barré syndrome (“GBS”).


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Lauren Kells, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On February 1, 2021, David K. McQuinn filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleged that he suffered injuries, including Guillain-Barré
syndrome (“GBS”) as a result of the influenza (“flu”) vaccine administered in his left deltoid
on November 27, 2018. Petition at 1. The case was assigned to the Special Processing
Unit of the Office of Special Masters.

       On June 3, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner has satisfied the criteria set forth in the Vaccine Injury Table (“Table”) and the
accompanying Qualifications and Aids to Interpretation (“QAI”), which afford Petitioner a
presumption of causation if the onset of GBS occurs between three and forty-two days

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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after a seasonal flu vaccination and there is no apparent alternative cause. Rule 4(c)
Report at 5-6 (citing Vaccine Act sections 14(a)(XIV)(D), (c)(15).

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.
                                                    s/Brian H. Corcoran
                                                    Brian H. Corcoran
                                                    Chief Special Master




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